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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFOR_NIA

Case No.:
FOLOI FOLOI,

COMPLA]NT FOR DAMAGES:
Pla.intiff,

v.
UNITED STATES OF AMERICA and DOES

1-100, inclusive

Defendants.

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COMES NOW Plaintiff and alleges a single cause of action for negligence under the Federal

Tort Claims Act:

I.
This is an action arising under the F ederal Tort Clairns Act, 28 U.S.C. §§ 2671 et seq. This Court
is vested With jurisdiction pursuant to 28 U.S.C. § 1346(b).

II.
Plaintiff resides in the city of Sacrainento, Sacramento County, California, all of Wln`ch are

Within the Federal judicial district of the United States District Court, Eastern District of

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Califomia. The venue is thus proper. The acts and omissions in this described in this complaint
occurred within Alameda County, Califonn`a.

III.
The incidents complained of herein occurred at 3:15 p.m. on or about June 6, 2006 on a Coast
Guard vessel, “USCG Cutter Monroe,” docked in Ala.meda County, California.

IV_
At all times mentioned herein, plaintiff was an employee of Nautical Engineering, lnc., a
company hired by defendant to perform work on “USGC Cutter Monroe,” an invitee of
defendant, and had permission to use the premises and access the portions of the vessel where
the incidents described herein occurred.

V.
At all times mentioned, defendant, by and through the Coast Guard a division of the department
of Homeland Security, a federal agency of defendant United States of America, was and now is
the owner and operator of a vessel, USGC Cutter Mom'oe, located at Alameda, Califomia.

VI.
At all times mentioned, DOES 1-100 were and now are employees of the Coast Guard. These
employees of defendant were acting within the scope of their respective employments, and with
the permission and consent of defendant in performing the acts or omissions set out in this
complaint

VH.
Defendant maintains Defendant had a duty to maintain US GC Cutter Monroe in a reasonably
safe condition for use by any and all invitees, and under Califomia law is responsible for any

injury occasioned by its want of ordinary care or skill in the management of its property

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Vlll.

At all times mentioned defendant and/or its employees had a duty to inspect and/or repair the
vessel to ensure that safe passage could be made down any walkway, ingress, egress, stairway, or
ladder known to be used by any member of the public, including employees, agents, and/or
representatives of any contractors, licensees, invitees, or any other person reasonably expected to
use the property for any lawml purpose.

lX.
On June 6, 2006, plaintiff was assigned duties on USGC Cutter Monroe by his employer,
Nautical Engineering, Inc.. While an employee of Nautical Enginecring, lnc., he was expected,
required and pennitted to use and access all necessary and ordinary stairwells attached to and
integrated into the structure of the vessel to effectuate the work that defendant had contracted for.
While plaintiff was using a ladder physically attached to the vessel, the ladder brolce, causing
plaintiff to fall to the ground and cause severe bodily injuries

X.
At the time of the incident described herein, plaintiff Was using the ladder in a reasonably
foreseeable manner, and used due care for his own safety.

Xl.
At the time of the incident, defendant and/or its employees had actual and/or constructive notice
that the ladder was not properly attached to the vessel and that it posed a danger to all
foreseeable users. The injuries to plaintiff were directly and proximately caused by the
negligence of the defendant and/or its employees, in that they carelessly, wrongfully, and
negligently:

(a) Failed to remove, replace or reinforce the defective and inadequate ladder and/or its

components, fasteners or the structure to which it Was fastened to, although it knew, or in the

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exercise of reasonable care, should have known, that it was weak, rotten, unstable, and likely to
deteriorate, and was thereby facilitating the failure without waming at any time.

(b) Failed to cordon off, or prevent access to the ladder, although they knew, or in the
exercise of reasonable care should have known that this ladder, if it were to collapse, would
result in bodily injury to a person using it.

(c) Pel'mitted plaintiff to be assigned to perform work , when they knew, or in the
exercise of reasonable care should have known, that the vessel contained hidden defects and was
dangerous and unfit for occupancy while the ladder remained unsecured',

(d) Failed to wam plaintiff of the danger presented by the defective ladder on the vessel.

Xll.
As a direct and proximate result of defendants negligence, plaintiff suffered numerous bodily
injuries, including cervical and lumbar strains, bilateral forearm pain, vertebral disc damage, and
will require surgery to plaintiffs damage in a sum not yet determined Plaintiff Will pray leave of
this Court to amend this complaint and incorporate the amount of such expenses and obligations
incurred

Xll.
As a direct and proximate result of these injuries, plaintiff has been suffering, and will continue
to suffer pain and physical disability and distress to plaintiffs general damage in the amount of
$3,000,000.00 . As a further direct and proximate result of the injuries sustained, plaintiff will be
forced to undergo many painful surgical operations, medical treatments, and rehabilitating
procedures, and has inculred and will incur obligations and expenses in an amount not presently
known, and plaintiff will pray leave of this Court to amend this complaint and incorporate the

amount of such expenses and obligations incurred.

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Xlll.
As a farther direct and proximate result of defendants negligence, plaintiff has been unable to
work at his employment as a ship fitter since the accident and has lost wages of $83,520.00_

XlV.
AS a further direct and proximate result of defendants nein gence, plaintiffs earning power has
been reduced and permanently impaired in an amount not presently known, and plaintiff will
pray leave of this Court to amend this complaint and incorporate the amount of such expenses
and obligations incurred.

XV.
On October 15, 2007, plaintiff submitted a claim based on these allegations in the amount of
$3,000,000.00 to the United States Coast Guard. On February 13, 2008, such claim, number

3307LC0091, was rejected by letter from the Department of Homeland Security_

WHEREFORE, plaintiff demands judgment against defendant in the sum of $3,000,000.00,
together with plaintiffs costs in this action, and such other and further relief as the Court may

deem proper.

Dated: June 5, 2008

  

DANIEL G. o’DONNELL, EsQ.

 

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